Case 1:18-cv-00950-LO-JFA Document 134 Filed 04/22/19 Page 1 of 3 PageID# 3015



                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,


                          Plaintiffs,

        v.                                            Case No. 1:18-cv-00950-LO-JFA

 COX COMMUNICATIONS, INC., et al.,


                          Defendants.

               DEFENDANTS’ STATEMENT OF NON-OPPOSITION TO
               PLAINTIFFS’ MOTION TO AMEND THE COMPLAINT

       Based upon Plaintiffs’ representation that “the amendment does not add any new parties,

works or claims” (ECF No. 131 at 3), Defendants Cox Communications, Inc. and CoxCom, LLC

do not oppose Plaintiffs’ Motion to Amend the Complaint (ECF No. 130) and will not file an

Opposition thereto.


Dated: April 22, 2019

                                                   Respectfully submitted,

                                                   /s/ Thomas M. Buchanan
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                                              1
Case 1:18-cv-00950-LO-JFA Document 134 Filed 04/22/19 Page 2 of 3 PageID# 3016



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                                        2
Case 1:18-cv-00950-LO-JFA Document 134 Filed 04/22/19 Page 3 of 3 PageID# 3017



                                CERTIFICATE OF SERVICE

       I certify that on April 22, 2019, a copy of the foregoing DEFENDANTS’

STATEMENT OF NON-OPPOSITION TO PLAINTIFFS’ MOTION TO AMEND THE

COMPLAINT was filed electronically with the Clerk of Court using the ECF system, which

will send notifications to ECF participants.



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